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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


  BEAR WARRIORS UNITED,
  INC.,

                    Plaintiff,

  v.                                                 Case No. 6:22-cv-2048-CEM-LHP

  ALEXIS A. LAMBERT,

                    Defendant.
                                        /
                  ORDER AND PERMANENT INJUNCTION

        THIS CAUSE is before the Court on Plaintiff’s Proposed Injunction (Doc.

  174), to which Defendant filed a Response (Doc. 180). It is ORDERED and

  ADJUDGED as follows:

           1. On or before July 17, 2025, Defendant shall apply for an Incidental

              Take Permit pursuant to 16 U.S.C. § 1539(1)(B).

           2. On or before June 17, 2025, Defendant shall establish and implement

              a biomedical assessment program for manatees within the North Indian

              River Lagoon modeled on the program set forth in “Biomedical health

              assessments of the Florida manatee in Crystal River—providing

              opportunities for training during the capture, handling, and processing

              of this endangered aquatic mammal” a 2012 report published in the



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              Journal of Marine Animals and their Ecology. This program shall be

              established and overseen by a team of manatee experts, including at

              least one expert not employed by the Florida Fish and Wildlife

              Conservation Commission, who shall be subject to the Court’s

              approval. Quarterly reports detailing the results of this program shall be

              submitted to the Court and made public. This program shall remain in

              effect until Defendant receives an Incidental Take Permit.

           3. On or before June 17, 2025, Defendant shall establish a supplemental

              feeding program for manatees in the North Indian River Lagoon. This

              program shall be established and overseen by a team of manatee experts

              subject to the Court’s approval. Quarterly reports detailing the results

              of this program shall be submitted to the Court and made public. This

              program shall remain in effect until the Defendant receives an

              Incidental Take Permit.

           4. Defendant shall submit quarterly reports to the Court documenting

              mortality statistics for both adults and neonatal manatees, as well as live

              manatee recoveries within the North Indian River Lagoon. These

              reports shall also be made public. This reporting requirement shall

              remain in effect until Defendant receives an Incidental Take Permit.




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           5. Defendant shall submit quarterly reports to the Court regarding water

              quality conditions, seagrass conditions, macroalgae conditions, and

              harmful algae blooms within the North Indian River Lagoon. These

              reports shall include all data from the St. Johns River Water

              Management District on water quality, seagrasses, macroalgae, and

              harmful algae blooms within these waterbodies. These reports shall be

              made public. This reporting requirement shall remain in effect until

              Defendant receives an Incidental Take Permit.

           6. On July 17, 2025, Defendant shall cease to issue new permits for the

              construction and installation of onsite sewage treatment and disposal

              systems (“OSTDS”) within the watershed delineated in Figure 1 of the

              North IRL 2021 Basin Management Action Plan. This moratorium shall

              terminate upon the issuance of an Incidental Take Permit to Defendant.

           7. The Court shall retain jurisdiction over this matter until Defendant

              obtains an Incidental Take Permit.

           8. Plaintiff shall provide the Court written notice within fourteen days of

              the expired deadlines, as to Plaintiff’s position on whether Defendant

              is in compliance with this Order.




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        DONE and ORDERED in Orlando, Florida on May 19, 2025.




  Copies furnished to:

  Counsel of Record




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